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Via ECF
The Honorable Cathy Seibel
United States District Judge
United States District Court
300 Quarropas Street
White Plains, NY 10601-4150


February 23, 2022

RE: United States of America ex rel. Integra Med Analytics LLC. v. Isaac Laufer, et al., No.
    7:17 Civ. 9424–CS

Dear Judge Seibel:

      Pursuant to this Court’s Individual Practice Rule 2(D), Defendants respectfully request oral
argument on Defendants’ motions to dismiss in this case. As explained in more detail below,
Defendants believe oral argument will assist the Court in resolving the motions.

        This matter involves the United States False Claims Act (“FCA”), 31 U.S.C. § 3730(b)(2).
There are fourteen separate defendants in this case: eleven of the defendants are independently
operated skilled nursing facilities, two are individual persons, and one is a third-party service
company. The eleven facility defendants, defendant Issac Laufer, defendant Tami Whitney, and
defendant Paragon Management SNF LLC (“Paragon”) have each filed a motion to dismiss
respective to their unique circumstances, to which the government has filed a forty-nine-page
opposition. Today, the eleven facilities, Laufer, Whitney, and Paragon have each submitted a reply
in support of their respective motions.

      Given the nature of the case, the number of parties involved, and the extensive briefing,
Defendants respectfully submit that oral argument will assist the Court in its analysis of the
motions to dismiss.



                                                              Sincerely,

                                                              /s/ J. Bradley Robertson




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